       Case 1:06-cr-00097-SM     Document 23     Filed 10/30/06   Page 1 of 2




                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                              Case No. 06-cr-97-01/02-SM

Edward Cervantes Arias
and Jose Luis Alsina-Ortiz

                                    ORDER

      The court construes Defendant Arias’ motion to continue the final pretrial

conference as a motion to continue the trial as well, which motion is granted

(document 22). Trial has been rescheduled for the January 2007 trial period.

Defendant Arias shall file a waiver of speedy trial rights not later than

November 7, 2006. On the filing of such waiver, his continuance shall be

effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference: December 15, 2006 at 4:00 p.m.

      Jury Selection: January 9, 2007 at 9:30 a.m.
      Case 1:06-cr-00097-SM    Document 23   Filed 10/30/06   Page 2 of 2




      SO ORDERED.



                                   ____________________________
                                     Steven J. McAuliffe
                                     Chief Judge

October 30, 2006

cc:   Richard N. Foley, Esq.
      Jose A. Espinosa, Esq.
      Michael Sheehan, Esq.
      Mark Zuckerman, AUSA
      US Probation
      US Marshal




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